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CHAPTER 13 PLAN (Individual Adjustment of Debts)

 

 

 

 

 

C] Original Plan
(m] SECOND Amended Plan (Indicate Ist, 2nd, etc. Amended, if applicable)
L] Modified Plan (Indicate Ist, 2nd, etc. Modified, if applicable)
DEBTOR: RALPH LEVI SANDERS JOINT DEBTOR: CASE NO.: 22-14766-SMG
SS#: xxx-xx- 6171 SS#: xXxx-xx-
I. NOTICES
To Debtors: Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans and

modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to Local
Rules 2002-1 (C)(5), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of filing
the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.

To Creditors: Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
be reduced, modified or eliminated.

To All Parties: The plan contains no nonstandard provisions other than those set out in paragraph IX. Debtor(s) must check one box
on each line listed below in this section to state whether the plan includes any of the following:

 

 

 

 

The valuation of a secured claim, set out in Section III, which may result in a [Included [M] Not included
partial payment or no payment at all to the secured creditor

Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set Included [M] Not included
out in Section III

Nonstandard provisions, set out in Section IX [m] Included [_] Not included

 

 

 

Il. PLAN PAYMENTS, LENGTH OF PLAN AND DEBTOR(S)' ATTORNEY'S FEE

A. MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused
amount will be paid to unsecured nonpriority creditors pro-rata under the plan:

 

 

1. $1,252.98 formonths_ 1 to _4_;
2. $380.40 formonths 5 to 60 ;
B. DEBTOR(S)' ATTORNEY'S FEE: {[] NONE [-] PRO BONO
Total Fees: $7,000.00 Total Paid: $2,000.00 Balance Due: $5,000.00
Payable $1,250.00 /month (Months 1 to 4)

Allowed fees under LR 2016-1(B)(2) are itemized below:

Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.

Il. TREATMENT OF SECURED CLAIMS [7] NONE
A. SECURED CLAIMS: | [ili] NONE
B. VALUATION OF COLLATERAL: [7] NONE

IF YOU ARE A SECURED CREDITOR LISTED BELOW, THE PLAN SEEKS TO VALUE THE COLLATERAL
SECURING YOUR CLAIM IN THE AMOUNT INDICATED. A SEPARATE MOTION WILL ALSO BE SERVED UPON
YOU PURSUANT TO BR 7004 AND LR 3015-3.

1. REAL PROPERTY: [il] NONE

2. VEHICLES(S): [il] NONE

3. PERSONAL PROPERTY: [il] NONE
C. LIEN AVOIDANCE [i] NONE

 

 

 

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D. SURRENDER OF COLLATERAL: [mi] NONE
E. DIRECT PAYMENTS [] NONE

 

Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution from the Chapter 13 Trustee.
The debtor(s) elect to make payments directly to each secured creditor listed below. The debtor(s) request that upon
confirmation of this plan the automatic stay be terminated in rem as to the debtor(s) and in rem and in personam as to any
codebtor(s) as to these creditors. Nothing herein is intended to terminate or abrogate the debtor(s)' state law contract rights.

 

Name of Creditor Last 4 Digits of Account No. Description of Collateral (Address, Vehicle, etc.)
Bank of NY Mellon c/o SLS_ 9424 561 SW 60 Ave

I. Plantation, FL 33317
SBA 6003 561 SW 60 Ave

2. Plantation, FL 33317

IV. TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in 11 U.S.C. §507 and 11 U.S.C. § 1322(a)(4)]_ [-] NONE

A. ADMINISTRATIVE FEES OTHER THAN DEBTORS(S)' ATTORNEY'S FEE: [ii] NONE
B. INTERNAL REVENUE SERVICE: [—] NONE

 

 

Total Due: $14,337.83 Total Payment $14,337.92
Payable: $343.62 /month(Months_ 1 to 4 )
Payable: $231.49 /month (Months 5 to 60 )

 

 

C. DOMESTIC SUPPORT OBLIGATION(S): [ii] NONE
D. OTHER: [ii] NONE

V. TREATMENT OF UNSECURED NONPRIORITY CREDITORS [-] NONE
A. Pay $114.33 /month (Months 5 to 60 )

Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.
B. [ml If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.
C. SEPARATELY CLASSIFIED: _ [ii] NONE
VI STUDENT LOAN PROGRAM [ii] NONE
VII. EXECUTORY CONTRACTS AND UNEXPIRED LEASES [ii] NONE
VII. INCOME TAX RETURNS AND REFUNDS:

{m] Debtor(s) shall provide copies of yearly income tax returns to the Trustee (but not file with the Court) no later than May
15th during the pendency of the Chapter 13 case. In the event the debtor(s)’ disposable income or tax refunds increase,
debtor(s) shall increase payments to unsecured creditors over and above payments provided through the Plan up to 100% of
allowed unsecured claims. [Broward/Palm Beach cases]

IX. NON-STANDARD PLAN PROVISIONS [~] NONE
[m) Nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included in the Local
Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are void.
The Debtor has numerous lawsuits. If any money is collected from those lawsuits that are determined not to be exempt, the
payments to unsecured creditors will increase by the amounts determined to be unexempt.
[-] Mortgage Modification Mediation

 

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PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.

 

 

Debtor November 7, 2022 Joint Debtor
RALPH LEVI SANDERS Date Date
MICHAEL J. BROOKS November 7, 2022
Date

Attorney with permission to sign on
Debtor(s)' behalf who certifies that
the contents of the plan have been

reviewed and approved by the

Debtor(s). 1

By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
contains no nonstandard provisions other than those set out in paragraph IX.

| This certification requirement applies even if the Debtor(s) have executed a limited power of attorney to Debtor(s)’ attorney authorizing the
attorney to sign documents on the Debtor(s)' behalf.

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